Form hrgnot2

                                   UNITED STATES BANKRUPTCY COURT


                                      MIDDLE DISTRICT OF TENNESSEE

                                            701 Broadway Room 170
                                              Nashville, TN 37203

                                    Bankruptcy Proceeding No. 3:19−bk−01971
                                                   Chapter 11
                                            Judge Randal S Mashburn

In Re:
   Capstone Pediatrics, PLLC
   1420 Donelson Pike Suite B17
   Nashville, TN 37217
Social Security No.

Employer's Tax I.D. No.
  46−3431552

PLEASE TAKE NOTICE that a hearing will be held at:

Courtroom 1, 2nd Floor Customs House, 701 Broadway, Nashville, TN 37203 on 11/3/20 at 09:30 AM

to consider and act upon the following:


296 − U.S. Trustee Motion to Convert Chapter 11 Case to Chapter 7 under Section 1112(b), Region 8. − Hearing will
be held telephonically. The Call−In Number is 888−363−4749; Access Code is 8979228#


Dated: 10/7/20                                           /s/ TERESA C. AZAN
                                                         Clerk, U.S. Bankruptcy Court




        Case 3:19-bk-01971        Doc 297 Filed 10/07/20 Entered 10/07/20 13:30:22                  Desc
                                  Notice of Hearing with edit Page 1 of 1
